


  Upon consideration of the petition filed by Defendant on the 31st day of May 2008 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 11th day of December 2008."
 

  Upon consideration of the petition filed by Defendant on the 31st day of May 2008 in this matter for a writ of certiorari to review the decision of the North Carolina Court of
   Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 11th day of December 2008."
 

  Upon consideration of the petition filed by Defendant on the 31st day of May 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Bertie County, the following order was entered and is hereby certified to the Superior Court of that County:
 

  "Denied by order of the Court in conference, this the 11th day of December 2008."
 
